PROB 12C - (Rev. D/NM-8/2014)                                                                          4820943

                                  UNITED STATES DISTRICT COURT
                                             FOR THE
                                     DISTRICT OF NEW MEXICO

                        Amended Petition for Revocation of Supervised Release
Name of Offender:            Sheldon Howe
Docket Number:               1084 1:18CR01579 -001MV
Assigned Judge:              Honorable Martha Vazquez, United States District Judge
Date of Original Sentence:   09/04/2019
Original Offense:            18 U.S.C. 1153: Arson of a Dwelling, Crime in Indian Country
Original Sentence:           BOP: 30 months; TSR: 5 years
Date Supervision             05/27/2020
Commenced:
Date Supervision Expires:    05/26/2025
Other Court Action:          12/28/2020: A Petition for Revocation of Supervised Release was filed after
                             the defendant submitted a positive urine test for methamphetamine and failed
                             to reside at the residential reentry center.

                                  05/12/2021: The Petition for Revocation of Supervised Release was held in a
                                  6-month Abeyance period.

                                       PETITIONING THE COURT

No warrant requested. Emergency warrant issued.

U.S. Probation Officer of the Court, Rachel Loya-Hobbs, alleges the offender has violated the following
condition(s) of supervised release.

Violation         Nature of Noncompliance
Type

MC                You must refrain from any unlawful use of a controlled substance. You must submit to one
                  drug test within 15 days of release from imprisonment and at least two periodic drug tests
                  thereafter, as determined by the court.

                  On December 12, 2020, the defendant submitted a urine test that tested positive for
                  amphetamine. The defendant admitted to consuming methamphetamine prior to his urine test.

AMENDED           On June 20, 2021, the defendant was arrested and charged with Attempt to Commit a Felony,
MC                to wit: Breaking and Entering (Misdemeanor) and Concealing Identity (Misdemeanor), by
                  the Raton Police department in Raton, New Mexico. According to the Statement of Probable
                  Cause, a witness called law enforcement after they observed the defendant attempting to
                  break into a local business, despite the business being closed. When the officer responded to
                  the scene and contacted the defendant, the defendant provided the officer with a false name.
                  However, the officer was later able to correctly identify the defendant. This case is currently
                  pending in the Colfax County Magistrate Court Case No.: 21-0564.
 SPC               You must reside in a residential reentry center for a term of (up to) 6 months. You must
                   follow the rules and regulations of the center.

                   On December 24, 2020, the defendant was observed leaving the Residential Reentry Center
                   (RRC) in Albuquerque, New Mexico, without permission from the RRC staff. The defendant
                   failed to return to the RRC, was subsequently declared an absconder, and terminated from
                   the program.


This marks the defendant’s first positive drug test for illegal controlled substances since 05/27/2020.

The maximum statutory penalty: 5 years imprisonment; 5 years supervised release.
The revocation range of imprisonment: 4 to 10 months.


I declare under penalty of perjury that the foregoing is true and correct.
Executed on 06/21/2021.


 Submitted:                                                  Approved:                        ‫ ܈‬Phone Approval




 Rachel Loya-Hobbs                                           Allison Jaros
 U.S. Probation Officer                                      (505) 346-7274
 Cell #: (505) 366-3583                                      Assistant U.S. Attorney



                                                             Date: 06/21/2021




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